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                                DECLARATION OF DOE #4

         I, DOE #4, state and declare as follows:

         1.     I have personal knowledge of the facts hereinafter stated, and if called upon

  to testify, could and would competently testify thereto.

         2.     I am a Plaintiff Class Representative in this action, DOE 1, et al, v. United

  States of America.

         3.     This declaration is in support of Plaintiffs’ motions for class certification

  and for a preliminary injunction in this action.

         4.     I maintained Box #4300 at US Private Vaults, which was seized in March

  of 2021. I filed an administrative forfeiture claim with a pseudonym, and I wish to

  continue contesting forfeiture of my property with a pseudonym.

         I certify under penalty of perjury of the laws of the United States of America that
  the foregoing is true and correct. Executed on July ____, 2021in the County of Los
  Angeles, California.

                                      __________________________
                                      DOE #4
